         Case 2:14-cr-00021-RMP             ECF No. 1775                  filed 01/11/16              PageID.9817 Page 1 of 2
✎ PS 8
(3/15)                                                                                                                    FILED IN THE
                                                                                                                      U.S. DISTRICT COURT
                                                                                                                EASTERN DISTRICT OF WASHINGTON

                              UNITED STATES DISTRICT COURT
                                                                                                                 Jan 11, 2016
                                                                       for                                           SEAN F. MCAVOY, CLERK


                                              Eastern District of Washington


U.S.A. vs.                     Lambert, Sean L.                                        Docket No.             2:14CR00021-RMP-28


                                 Petition for Action on Conditions of Pretrial Release




COMES NOW Erik B. Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Sean L. Lambert, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
John T. Rodgers sitting in the Court at Spokane, Washington, on the 3rd day of April 2014 under the following
conditions:



Standard Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall
advise the supervising Pretrial Services Officer and defense counsel within one business day of any charge arrest or contact
with law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement
agency, unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

Special Condition #13: Defendant shall remain in the Eastern District of Washington while the case is pending. On a
showing of necessity, and with prior notice by the defense to the assigned Assistant U.S. Attorney, the Defendant may obtain
prior written permission to temporarily leave this area from the United States Probation Office.


         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                     (If short insert here; if lengthy write on separate sheet and attach.)




Violation #1: The defendant failed to report law enforcement contact, that occurred on December 3, 2015, within 1
business day.



Violation #2: The defendant traveled to the District of Idaho on December 3, 2015, without obtaining prior permission.




                     PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME
         Case 2:14-cr-00021-RMP        ECF No. 1775      filed 01/11/16        PageID.9818 Page 2 of 2
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  Re: Lambert, Sean L.
  January 11, 2016
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                                                                      I declare under the penalty of perjury
                                                                      that the foregoing is true and correct.
                                                                      Executed on:       January 11, 2016
                                                            by        s/Erik Carlson
                                                                      Erik Carlson
                                                                      U.S. Pretrial Services Officer


THE COURT ORDERS

[ X]     No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                        Signature of Judicial Officer
                                                                                  1/11/2016

                                                                        Date
